                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:10-00065
                                                  )      JUDGE CAMPBELL
VICTOR OWENS                                      )

                                            ORDER

       Pending before the Court is an Amended Motion to Suppress Evidence (Docket No. 157)

filed by Defendant pro se.

       Defendant Owens is represented by Sumter L. Camp. The above referenced pro se Motion

is DENIED without prejudice to filing by Defendant’s counsel.

       It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




 Case 3:10-cr-00065          Document 158    Filed 09/26/12     Page 1 of 1 PageID #: 468
